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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

                                             )
Ellen S. Ewald,                              )
                                             )     Civil No. ll-CV-02116   (SRN/SER)
                         Plaintiff,          )
                                             )
vs.                                           )            AFFIDAVIT OF
                                              )        SEAN R. SOMERMEYER
Royal Norwegian Embassy,                      )
                                              )
                       Defendant.             )
                                              )
----------)
STATE OF MINNESOTA)
                            ) ss.
COUNTY OF HENNEPIN)


       Sean R. Somermeyer,     being duly sworn, states as follows:

       1.     I am one of the attorneys representing Defendant Royal Norwegian

Embassy (the "Embassy") in the above-captioned matter.

       2.     Plaintiff first sent a demand letter to the Embassy in March 2011, and

commenced litigation in July 2011. Upon receipt of the demand letter, the Embassy

issued a legal hold and took steps to preserve discoverable information.

       3.     I attended the parties' Rule 26(f) Conference which took place on June 26,

2012. At the conference, the parties discussed that hard-copy and electronic documents

would be produced in discovery. There was no discussion by either party of preserving,

collecting, or producing anything other than hard-copy documents, emails, and electronic




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documents stored on computers (i.e. Microsoft Word documents). Plaintiffs counsel did

not say anything about mobile phones, text messages, or voicemail messages.

      4.      At the Rule 26(f) conference, Plaintiffs counsel presented a Form of

Production Agreement ("FOP A"). The FOP A addressed the manner in which hard-copy

and electronic documents would be produced in this litigation. The Embassy reviewed

the FOP A and agreed to it without modifying any of its terms.

       5.     I was contacted by Anders Davidson after he received a subpoena from

Plaintiff. Mr. Davidson told me that he had contacted Plaintiffs counsel to discuss how

he would respond to the subpoena. Mr. Davidson told me that he spoke with Susanne

Fischer, one of Plaintiffs attorneys, and they agreed that Mr. Davidson would search his

emails for certain terms, including "Ellen", transfer the search results to a USB drive, and

send the USB drive to Plaintiffs counsel. At no time was I told that Plaintiffs counsel

asked Mr. Davidson to search for or produce text messages or voice mails and the

materials we received from Plaintiff that Plaintiff represented she received in response to

her subpoena to Mr. Davidson did not include any text messages or voice mails.

       6.     I have communicated with each of the individuals listed in Plaintiffs

Document Request No. 29 regarding Plaintiffs request for text messages. Each one of

these individuals searched for text messages relating to Plaintiff. Each one of these

individuals informed me that they have no text messages in their possession relating to

Plaintiff or the Honorary Consulate General in Minneapolis.




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         7.      All of the individuals listed on page 24 of Plaintiff s Memorandum of Law

in Support of her Motion to Compel worked for Norway's Ministry of Foreign Affairs

("MF A") at the time of the communications            and held positions with responsibilities

related to the Honorary Consulate General in Minneapolis.           Specifically, Finborud and

Slettevold were responsible for coordinating between the MFA in Oslo, the Embassy in

Washington       D.C., and the Steering Group of Stakeholders          that funded Plaintiffs

position. Finborud was the chairwoman of the Steering Group. Thorsheim, Bmther and

Berge, were each Department-level          managers    at the MFA in Oslo. Thorsheim and

Bmther        ran one of the Departments    at the MF A, while Berge was one of the

MFA's Deputy Directors         General.    Larsen,    Stokke and Gillesdal,   were high-level

employees within the MFA who dealt directly with the Foreign Minister, Jonas Gahr

Stereo

         8.       At the time of the communications      referenced on page 24 of Plaintiffs

memorandum, Tove Karin Hatlo was an advisor at the Embassy in Washington who was

responsible for employee administration and dealt with issues regarding Plaintiffs health

insurance and travel.

         9.       RNE 63100 is a communication from Morten Aasland who was, at the time

of the communication,        the MFA's Coordinator for North America.          In RNE 63100,

Mr. Aasland       wrote,   in Norwegian:    "Please   treat what has been circulated       here

confidentially ...     Not to be forwarded."    His email is sent from high-level employees




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within the MFA to the department that deals with North America policy under which the

Honorary Consulate General Minneapolis falls.

          10.         I spoke with Christina Carleton on July 31, 2013. Ms. Carleton informed

me that at no time during her employment at the Honorary Consulate was she designated

as the "note taker" for meetings or any other events.


          This concludes my affidavit consisting of four (4) typewritten pages.



                                                 sf Sean R. Somermeyer
                                                 Sean R. Somermeyer


Subscribed and sworn to before me
this 5th day of August, 2013.

sf Nancy A. Meehan
Notary Public
My Commission Expires January 31, 2015
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